       Case 1:21-cr-00040-TNM Document 29 Filed 04/05/21 Page 1 of 8




                         UNITED STATES DISTRICT COURT

                               DISTRICT OF COLUMBIA
------------------- - ---- --- ---- - ----X
UNITED STATES OF AMERICA,                                Criminal No. 21-cr-40 (TNM)

               V.


PATRICK MCCAUGHEY 111,

                      Defendant.                         April 5, 2021
----------- ----------- -- ------------X


               OPPOSITION TO MOTION FOR PROTECTIVE ORDER

       The    Defendant      Patrick   Mccaughey   Ill   respectfully    opposes   the

 government's Motion for Protective Order, for the reasons that follow.

       A. Defendant Doesn't Object To Specific Partial Protective Order.

       At the outset, the defendant has no objection to a Protective Order issuing

for the items set forth in ,i,i1a, b, c, d, e, and j of the government's Motion, the

objects of which are specific and clear for the parties and the Court to ascertain.

However, the defendant believes the government hasn't shown "good cause" with

respect to the items in 1f1f, g, h, and i.

       B. The Government Doesn't Meet Its Burden Of Proof With Respect To
          The Remaining Non-Specific Blanket Request.

       By these broad and non-specific protective order requests , the government is

seeking to sidestep the plain language and purpose of Rule 16(d) of the Federal

Rules of Criminal Procedure. Rather than put the onus on the defendant to have to

complain to the Court each time it contests the government's one-sided

designations, as the government is proposing, the language and spirit of




                                             1
       Case 1:21-cr-00040-TNM Document 29 Filed 04/05/21 Page 2 of 8



Fed.R.Crim.P. 16(d) are clear that the party seeking the order must first show "good

cause" why a particular protective order should issue.

       "The burden of showing 'good cause' is on the party seeking the order, and

'among the considerations to be taken into account by the court will be the safety of

witnesses and others, a particular danger of perjury or witness intimidation, [and] the

protection of information vital to national security."' U.S. v. Cordova, 806 F.3d 1085,

1090 (DC Cir. 2015) (citations omitted). '"Broad allegations of harm, unsubstantiated

by specific examples or articulated reasoning , do not support a good cause

showing."' U.S. v. Johnson, 314 F.Supp.3d 248, 251 (D.C. District 2018) (citing U.S.

v. Wecht, 484 F.3d 194, 211 (3rd Cir. 2007). Here, the government ought not be able

to ask for the blanket, nonspecific protective order it seeks, effectively passing its

burden of proof onto defendant, so that he has to come to the Court to try to

"unprotect" something that may well not ought to have been protected in the first

instance. 1

       For instance, with respect to ,r1 f, the government seeks a Protective Order

for "Sources and methods law-enforcement officials have used, and will continue

to use, to investigate other criminal conduct related to the publicly filed charges."

However, the blanket statement preceding, that the government may designate

material as "sensitive" or "highly sensitive," without any specificity, is not enough to



1 The government's broad, blanket protective order request is, frankly, offensive, as
it had no problem going full bore in publicly besmirching the defendant in a press
release upon his arrest; now, after having so tarred Mr. Mccaughey, it wants to shield
from public viewing what evidence it claims it has to support those outrageous
comments.
https://www.justice.gov/usao-dc/pr/connecticut-man-charged-assaulting-officer-
during-us-capitol-breach
                                            2
       Case 1:21-cr-00040-TNM Document 29 Filed 04/05/21 Page 3 of 8




allow this Court to render an informed decision about whether a protective order

should issue in this regard . For all the Court knows, the government could claim

that FBI 302 reports could reveal the interview techniques of FBI agents and,

therefore, are "highly sensitive." In each such instance, the burden and onus under

our rules is such that the government ought to seek specific protection for any class

of items; not a blanket order for anything that the government, in its own discretion,

deems "sensitive."

       The government further seeks, in 1{1g , a protective order for Capitol

surveillance camera footage , relying heavily on the Declaration of the General

Counsel for the U.S. Capitol Police, Thomas A. DiBiase. However, Mr. DiBiase's

own Declaration reveals that, per policy, it has already released said footage to,

inter alia, the United States Attorney's Office for purposes of this and other criminal

investigations.

       In 1{4 of the Declaration, DiBiase reveals that, "[p]er Department Directive

1000.002 ... cameras would only be used for matters related to national security

and legitimate law enforcement purposes (e.g., serious crimes). " DiBiase goes on

to reference areas that fall outside of that Directive, like FOi requests; however,

that commentary essentially amounts to "white noise" distracting from the issue at

hand. In this case, per the Directive, the USCP did turn the materials over to the

government for purposes of this prosecution and, as such, it is no longer subject

to any USCP policies and procedures but, rather, its usage is now controlled by the

various laws and rules of disclosure governing criminal matters. This conclusion is

confirmed by the pertinent Information Sharing Agreement between the USCP and

the FBI as pertains to the events of January 6, 2021 .
                                         3
       Case 1:21-cr-00040-TNM Document 29 Filed 04/05/21 Page 4 of 8




        Critically, the relevant "Information Sharing Agreement" appended to

DiBiase's Declaration specifically states that "[t]his restriction does not apply to any

video, audio, photographic or documentary evidence that is used as evidence or

discovery as part of any prosecution of any criminal offense."           Thus, by the

government's own submission, it is clear that the USCP expressly understood when

it turned over videos, pictures, etc. to the FBI for this investigation, that further

disclosure of those materials pursuant to the criminal discovery process was

outside of its control. 2

       Similarly, the government's reliance on "security information" as defined in 2

U.S.C. §1979 in 1J1i of the proposed protective order, is of no moment. Paragraph

(b) thereof provides that "[n]otwithstanding any other provision of law, any security

information in the possession of the Capitol Police may be released by the Capitol

Police to another entity, including an individual, only if the Capitol Police Board

determines in consultation with other appropriate law enforcement officials, experts

in security preparedness, and appropriate committees of Congress, that the release

of the security information will not compromise the security and safety of the Capitol

buildings and grounds or any individual whose protection and safety is under the

jurisdiction of the Capitol Police."

       Here, the USCP already made that determination both when it issued

Directive 1000.002 and when it entered into the aforementioned "Information

Sharing Agreement" with the FBI. Surely if the USCP had lingering, legally

enforceable concerns about the release of such footage to the FBI, it would not


2
 The defendant sees no reason why the "repair estimates" referenced in 111 h of the
proposed order should be protected, let alone the required "good cause."
                                         4
       Case 1:21-cr-00040-TNM Document 29 Filed 04/05/21 Page 5 of 8




have included that very last sentence, referenced above, that expressly excludes

information that it provides to the FBI for this and other January 6, 2021

investigation, from its enumerated protections. Therefore, USCP materials in the

government's possession should be disclosed according to the normal rules of

discovery.

       To the extent that the USCP's designation of the subject materials as

"security information" under 2 U.S.C. 111979 is pertinent in any event, Mr. Di Biase

has acknowledged that only a tiny fraction of such materials has been so

designated. "At this juncture, the Department in consultation with the Capitol Police

Board, has designated only a small subset, consisting of less than 17 hours of

footage, as 'security information, as that footage relates to evacuation of Members

from their respective chambers on January 6." (Decl.1116).3

       Mr. DiBiase also notes a lingering "concern" by the USCP that defendants

who are provided with too much footage could be a national security risk because,

whomever possessed the array of footage would have a "clear picture of the interior

of the Capitol, including entry and exit points, office locations, and the relation of

the crucial chambers and offices (such as the Speaker's Office or Majority Leader's

Office) to other areas of the Capitol." (Id). This concern is echoed in 1114 of his

Declaration, albeit more vaguely. Most critically, though, the information that Mr.

DiBiase is apparently worried about becoming public, is already publicly available.

       A quick Google search reveals that, at the following government website -



3
  In the event the government were specifically seeking a Protective Order for such
footage , explaining, for instance, that it would reveal specific evacuation safety
protocols, the defendant would have no objection to such a request.
                                           5
       Case 1:21-cr-00040-TNM Document 29 Filed 04/05/21 Page 6 of 8



https://www.govinfo.gov/content/pkg/CDIR-2000-10-01 /pdf/CDIR-2000-10-01 -

CAPITOL.pdf - there is a complete blueprint-style layout of the Capitol Building,

including directories showing the precise locations of the offices of the Speaker of

the House, the Majority Leader, and every other important location within the

building. (Exhibit A).4


       C. The Defendant Objects To The Limiting Definition Of Legal Defense
          Team.

       The Government proposes that any protected information only be viewed by

"defense counsel and any attorneys, investigators, paralegals, support staff, and

expert witnesses who are advising or assisting defense counsel in connection with

this case." Proposed Order, 1f3. It is the longstanding practice of undersigned

counsel, however, to run various pieces of evidence and other aspects of any

particular case by non-lawyer friends in order to obtain perspectives akin to the

potential jury. Over the years, counsel has found it indispensable to his successful

representation of clients, in gauging the relative importance and potential impact

any particular item may have in the event the matter was to proceed to trial.

       In addition, there are members of the defendant's family who are actively

assisting undersigned counsel with the defense, though they would fall outside the

limited definition of "defense team" as proposed by the government. Accordingly,

in the even the Court were to grant any or all of the government's Motion, the

defendant requests that "laypeople assisting in the defense" be included within the

scope of permitted viewers.


4Entry/ exit points can also be gleaned from a single pedestrian loop around the
Capitol building .
                                         6
         Case 1:21-cr-00040-TNM Document 29 Filed 04/05/21 Page 7 of 8




         D. This Proposed Order Would Hamper The Defendant's Ability To
            Meaningfully Assist In His Defense.

         Paragraph 6a of the proposed order essentially forbids undersigned counsel

 from providing copies for this incarcerated defendant to view; hence, the only way

 that the defendant may view such materials is in the presence of undersigned

 counsel or his agent(s). This restriction would be an unreasonable limitation on the

 ability of the defendant to aid in his own defense in light of his continued incarceration

 - especially in light of limitations on visits presented by the pandemic.

         For those reasons , the defendant avers that the government has not met its

 burden to be specific in its requests and to otherwise show "good cause" for the

 extremely broad requested protective order.

Dated:    Stamford, CT
          April 5, 2021

                                          Respectfully Submitted,


                                      By: __--_/   11- ~       --::::
                                          Lindy R. Urso (ct 20315)
                                          Attorney at Law
                                          810 Bedford Street, Suite 3
                                          Stamford, CT 06901
                                          Tel: 203-325-4487
                                          Fax: 203-357-0608
                                          lindy@lindyursolaw.com




                                              7
          Case 1:21-cr-00040-TNM Document 29 Filed 04/05/21 Page 8 of 8




                              CERTIFICATION OF SERVICE

       This certifies that a copy of the foregoing Motion was filed via ECF on this 5th day

of April in the year of our Lord 2021 .




                                    Lindy R. Urso




                                             8
